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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

                                                )
 STATE OF NEW YORK, et al.,                     )
                                                )
               Plaintiffs,                      ) Case No. 1:25-cv-01144-JAV
                                                )
        v.                                      )
                                                ) DECLARATION OF
 PRESIDENT DONALD TRUMP, et al.,                ) DAVID H. THOMPSON
                                                )
               Defendants.                      )
                                                )

I, David H. Thompson, do hereby declare:

       1.     I have never been convicted of a felony.

       2.     I have never been censured, suspended, disbarred, or denied admission or

readmission by any court.

       3.     I do not have any disciplinary proceedings presently pending against me.

       I declare under penalty of perjury that the foregoing is true and correct.


Executed on: February 13, 2025                       Respectfully submitted,

                                                     /s/ David H. Thompson
                                                     David H. Thompson
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